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                     UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

IN RE:                                            §
                                                  §     Bankruptcy No. 25-30155
ALLIANCE FARM AND RANCH, LLC, and                 §     Chapter 11
ALLIANCE ENERGY PARTNERS, LLC,                    §     (Jointly Administered)
                                                  §
                          Debtors.                §
                                                  §
                                                  §
DUSTIN ETTERS,                                    §
                                                  §
                          Plaintiff.              §      Adversary No. 25-03382
v.                                                §
                                                  §
JEROD P. FURR, ET AL,                             §
                                                  §
                           Defendants,            §

                   NOTICE OF APPEARANCE AND REQUEST FOR
                                  NOTICE

         PLEASE TAKE NOTICE that Howley Law PLLC hereby appears in the above-

captioned case pursuant to Rule 9010(b) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) as proposed counsel to Tom A. Howley, Chapter 11 Trustee (the

“Trustee”) and request, pursuant to Bankruptcy Rules 2002, 9007, and 9010 and sections 342

and 1109(b) of chapter 11, title 11 of the United States Code (the “Bankruptcy Code”), that all

notices given or required to be given in this case and all papers served or required to be served

in this case be given to and served upon the undersigned at the following office address,

telephone number and e-mail address:

                                        Eric Terry
                                 HOWLEY LAW PLLC
                                    TC Energy Center
                               700 Louisiana St., Suite 4545
                                  Houston, Texas 77002
                                Telephone: 713-333-9125
                               Email: eric@howley-law.com
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       PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing request includes not only the notices and papers referred to in

the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices

of any application, motion, petition, pleading, request, complaint or demand, whether formal

or informal, whether written or oral, and whether transmitted or conveyed by mail, delivery,

telephone, e-mail or otherwise, which affect the Debtors or property of the Debtors.

       This Notice of Appearance and Request for Service of Papers shall not be deemed to

be a waiver of the Trustee’s rights (1) to have final orders in non-core matters entered only

after de novo review by a District Court Judge, (2) to trial by jury in any proceeding so triable

in this case or any case, controversy, or proceeding related to this case, (3) to have the District

Court withdraw the reference in any matter subject to mandatory or discretionary withdrawal,

(4) to any other rights, claims, actions, setoffs, or recoupments to which the Trustee is or may

be entitled, in law or in equity, all of which rights, claims, actions, setoffs, and recoupments

the Trustee expressly reserves, or (5) to any and all defenses or objections the Trustee may

have to any claims asserted against him in this action including, without limitation, any defense

based on insufficient service of process, jurisdiction (including personal jurisdiction), or

capacity to be sued.

Dated: June 18, 2025                   Respectfully submitted,
    Houston, Texas
                                         /s/ Eric Terry
                                        Eric Terry
                                        Texas Bar No. 00794729
                                        HOWLEY LAW PLLC
                                        700 Louisiana St., Suite 4545
                                        Houston, Texas 77002
                                        Telephone: 713-333-9125
                                        Email: eric@howley-law.com

                                         Proposed Counsel for Tom A. Howley - Trustee



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                                CERTIFICATE OF SERVICE

        I certify that on June 18, 2025, I caused a copy of the foregoing document to be served by
electronic transmission to all registered ECF users appearing in these cases.

                                          /s/ Eric Terry
                                          Eric Terry




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